Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3754 Page 1 of 17




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DEBORAH K. MURPHY-DAVIDSON,
an individual,

                      Plaintiff,

                                                           Case   No.: 14-cv-00779

KENNETH J. STOLL,                                          Hon. Ray Kent
an individual, and                                         Magistrate Judge
COMFORCARE SENIOR SERVICES -
MID MICHIGAN, a limited liability company,

                      Defendants,



                     TRIAL BRIEF OF KENNETH J. STOLL AND
                 COMFORCARE SENIOR SERVICES _ MID MICHIGAN" LLC


                                     INTRODUCTION

       This case arises out of a shoft-term employment relationship between Deborah K.

Murphy-Davidson ("Ms. Davidson"), the plaintiff, and Kenneth J. Stoll         ("Mr. Stoll") and
ComForcare Senior Services, Mid-Michigan,           LLC     ("ComForcare"),    the     defendants.

ComForcare is a home caregiver franchise of Stanton, Michigan. In 2012 and 2013, ComForcare

provided homecare services for an elderly couple of Lakeview, Michigan, Donald and Imelda

Kring. During the winter months, the ComForcare franchise in Venice. Florida         assumed their

care. Ms. Davidson was one of two ComForcare's employees assigned to their care in Michigan.

       On 22 July 2074, approximately one year and one month after ComForcare terminated

Ms. Davidson's employment for entering into a private pay relationship with the Krings, she sued
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3755 Page 2 of 17



ComForcare and its co-owner Ken Stoll for alleged assault and battery and                civil stalking. Ms.

Davidson alleges that Mr. Stoll, while acting within the scope of his employment, assaulted and

stalked Ms. Davidson       in an attempt to use self-help to enforce an employee                non-compete

agreement. Ms. Davidson made a criminal complaint against Ken Stoll for assault and battery

which was subsequently dismissed by the county prosecutor. Ms. Davidson and the Krings also

obtained a personal protection order against Mr. Stoll for alleged stalking.

    I.   FACTS
         The Stanton ComForcare franchise is a family-run business. Dawn Stoll, Mr. Stoll's wife,

is the owner and office manager. There are several other office personnel including an account

receivable's clerk, a payroll clerk and a scheduler       .   In 2013, during the non-winter months, they

served over 170   clients. On any typical business day, Mr. Stoll drives around the service area in

a clearly marked company car making both announced and unannounced                  visits to clients and his

caregiver employees.In2013, the agency employed nearly 100 care-givers.

         On 26 April 2013, Ms. Davis, along with six other new employees, attended a company

orientation. The new employees watched a video, received a packet of materials including                     a

ComForcare Employee Handbook, and signed an acknowledgement for the handbook which also

contained a non-compete agreement.l Ms. Davidson also signed a confidentiality agreement and

agreed to return all property to ComForcare upon termination.




1 The acknowledgement
                        forrn, dated 26 April 2013, contains the following unambiguous
language immediately above Ms. Davidson's signature. "Futhermore, I understand that I am not permitted to make
any private employment arrangements with ComForcare's clients or their families. I understand that any such
anangement is grounds for immediate termination and may result in my being liable to ComForcare for any damages
and/or costs ComForcare suffers as a result of such an arrangement. These costs may be in excess of $5,000.00.




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    Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3756 Page 3 of 17



         On 5 May 2013, Ms. Davidson was assigned to provide caregiver services to the Krings

at their Lakeview residence. She was scheduled to work at the Kring home                    t   hours per day,

Monday through Friday. During that time, ComForcare employee Emme Manners provided

caregiver services to the Krings on weekends.

         The Krings were "snow-birds." They had been ComForcare clients in Stanton, Michigan

and Venice, Florida since 2012, and had signed a contract for services with both franchise

agencies. The week of June 3,2013, ComForcare            in Stanton received notification that the Krings

were no longer in need of their services. Ms. Manners was notified and immediately accepted

another assignment with another         client.   Scheduler Rae Wireman's attempts              to contact   Ms.

Davidson were unsuccessful.

         The following week, Mr. Stoll made a home visit to the Krings to check on their well-

being and gave Mr. Kring a pound of premium coffee at their lakeside residence.                        At    her

deposition, Ms. Davidson testified that, unbeknownst to Mr. Stoll, she was hiding in the home of

David and Mary England next door. The Englands were the Kring's daughter and son-in law.

Ms. Davidson quit working for the Krings after her shift on 3 June 2073, but did not

acknowledge Rae Wireman's text message that the Krings were no longer in need of care until 7

June 2013.2

         On l0 June 2013, Mr. Stoll appeared at the Lakeview residence that Ms. Davidson shared

with her then live-in boyfriend, concerned for her well-being. He left his business card with                   a

note asking her to call him. Shortly after that, Ms. Davidson called the offrce for the first time



2Ms. Davidson's cell phone records indicate an exchange of text messages between her and Comforcare scheduler
Ray Wireman on 7 June 20 13.
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3757 Page 4 of 17



since the Krings discontinued service and spoke with      Mr. Stoll. Ms. Davidson informed Mr.

Stoll that she was going back to school but to keep her on the employment roster for future

assignments. It was a cordial conversation and Mr. Stoll had no indication at that time that Ms.

Davidson had entered into a private pay relationship with the Krings.



        A. Ms. Davidson's Causes of Action against Ken Stoll for alleged Civil Stalking.

        Mr. Stoll 's alleged attempts to contact Ms. Davidson during the week of June 3 to          June

27 is basis of Ms. Davidson's stalking complaint.         It   was also the basis upon which          she

petitioned and received and obtained a personal protection order against Mr. Stoll for alleged

stalking in the Montcalm County Circuit Court. In her petition for a PPO, Ms. Davidson wrote

in pertinent paft: "he came to my house because I never returned his calls or texts."

        At the hearing, Ms. Davidson testified that "[h]e (Mr. Stoll) has repeatedly called           me

within a 3 week period, over 100 times. . ." (T, 6.) She also testified that Mr. Stoll paid   a   visit to

her home on June 20th when she was not home (at her deposition, she clarified it was the 10th)

and had a subsequent telephone conversation the same day. (T, 9-     10) She also claimed that from

3 June (the date the Krings discontinued service) to 5 August, Mr. Kring made 4 visits to the

Kring home and "would ask the Krings about me." (T, 10) Until June 10th, it is undisputed that

Mr. Stoll did not have any personal contact with Ms. Davidson (except for an incidental sighting

at Walmarl), or knew that she may have been hiding in the Kring home or in the residence of the

England's, who lived next door. (T, 10-11) On the 10tl',       Mr. Stoll received a four minute call

from Ms. Davidson who indicated that she was planning on going back to school to advance her

education, was taking the summer off, and to keep her in mind for future part-time assignments

in the fall.
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3758 Page 5 of 17



             During the PPO hearing, on cross-examination of Ms. Davidson, after being asked her

cell phone number, Ms. Davidson changed her testimony, insisting that Mr. Stoll had contacted

her 34 or 35 times by phone in the 3 week period. "Oh, honestly at least 34"                   (T,27) Later in the

hearing, she testified it was 35. (T, 43) Ms. Davidson said she first spoke to Mr. Stoll by phone

on 20 June3, advised him that she was going back to school and not to contact her regarding

future assignments. (T, 31)

            At her deposition, Ms. Stoll admitted that her testimony at the                     PPO hearing was

"inaccurate." [See 2/23         1201 5   Deposition Transcript, pages 67 -7 0, I 5 I, I 52.)

             At her deposition, Ms. Davidson changed her testimony and now claimed that on 27 June

2013, she sent a text message to Mr. Stoll and Rae Wireman to "leave her the hell alone" - the

same day that she allegedly parted ways                  with Mr. Dilley, her live-in boyfriend of three y.urr.o

The parties do not dispute there was no more contact between the parlies until 5 August 2013.5

It is also undisputed that there was no alleged violation of the Circuit Courl's Personal Protection

Order issued on 8 Ausust2013.




3   At   her deposition, she said she meant June 10'n.


aMs. Davidson's phone records indicate there were no calls or text messages rnade to Mr. Stoll, Ms. Wirernan or
any number associated with ComForcare on that date.

s Ms. Davidson also testified to an incidental encounter with Mr. Stoll at the Greenville Walmart at an unspecified
date, while she was shopping with her former live-in boyfriend, one Bernard Daren Dilley. She testified that she
broke up with Mr. Dilley on 27 June 20 13. At trial, she also clairned for the first time that Mr. Stoll followed her
from Walmart to Meijer and was spying on her in the women's lingerie depaftment.
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3759 Page 6 of 17



       B. The assault alleged on 5 August.


       On 5 August 2013, Mr. Stoll made an unannounced visit to the Krings. Upon driving up,

he saw Ms. Davidson run past the living room window into the rear of the house.    Mr. Stoll was

invited in by Mr. Kring and a conversation ensued. Mr. Kring confirmed that Ms. Davidson was

hiding in the back bedroom. Mr. Stoll knocked on the bedroom door and asked her to come

out. Both parlies agree there was a confrontation between the parties in a three-foot wide hall

way outside the bedroom. What happened next is dependent upon the credibility of Ms.

Davidson and Mr, Stoll, as there were no other witnesses to the alleged assault. In the police

reporl, Ms. Davidson told Trooper Umphrey that she and Mr. Stoll were fighting over the box         of

gloves "like little kids." She claimed that Mr. Stoll grabbed her right arm and twisted it. There is

no mention in the report of Mr. Stoll pushing her, ramming her or pushing her into the door

frame. She claimed that Mr. Stoll reeked of alcohol.

       C. Ms. Davidson's deposition testimony. At her deposition, Ms. Davidson claimed            that

she was not hiding   in the back bedroom but making the bed. She said she was privy to              an

extended conversation between   Mr. Stoll and Mr. Krins over Mr. Krins's violation of his

contract with ComForcare. She claims that Mr. Stoll then came to the back bedroom and began

to bang on the door. When she didn't answer, he opened the door. According to her, Mr. Stoll

had a box of rubber gloves and ComForcare     "flow sheet" under his arm. In the doorway, they

got into an argument over the ownership of the box of gloves. She testified that Mr. Stoll

became angry after she took the box of gloves away from him. She said he "reeked of alcohol."

At that point, she said Mr. Stoll violently pushed her with both hands against her chest where     she


struck her right shoulder and head against the door jam. She then testified that he lowered his
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3760 Page 7 of 17



shoulder in a football stance and rammed her two or three more times into the door jam; both

times she struck her head and shoulder against the door frame. The box of gloves and flow sheet

fell to the floor and she was eventually able to       escape.    Mr. Stoll then allegedly pursued       her

outside where she instructed her alleged former boyfriend, Darren Dilley, who was then

unemployed and working for the Krings as a painter, to call the police.

       D. Mr. Stoll's version of events. The plaintiff        has chosen not to take   Mr. Stoll's

deposition or any deposition during the discovery period. During the criminal assault complaint

investigation, Mr. Stoll was completely cooperative and gave a statement to Michigan State

Police Trooper Michael Umphry. Again, Mr. Stoll saw Ms. Davidson go into the back bedroom

as he approached the house.      Mr. Kring invited him inside. Messrs. Stoll and Kring had an

extensive conversation about     Mr. Kring's alleged violation of the ComForcare home                services

agreement.    At one point Mr. Stoll went back out to his car to retrieve a copy of the paperwork

that Mr. Kring had signed. Mr. Kring confirmed that Ms. Davidson was in the rear of the house.

On the kitchen table,   Mr. Stoll found   a distinctive box   of ComForcare-issued gloves and parlially

filled out "flow sheet" that ComForcare routinely       issues    to its caregivers. Mr. Stoll picked     up

these items   off the counter and then proceeded to the back bedroom door which was closed. He

informed Ms. Davidson that he knew she was there and asked her to come out. Ms. Davidson,

not Mr. Stoll, opened the door, and began to curse and threaten            him.   She ripped the box       of

gloves and flow sheet from his hand. When he bent down to pick these items up, she pushed him

against the wall. During this time, she began yelling, "you pushed me, you pushed                me!"    Ms.

Davidson followed Mr. Stoll out the door and she continued to yell accusing him of an assault.

Her boyfriend or former boyfriend, one Bernard Darren Dilley, working outside as a painter,
    Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3761 Page 8 of 17



then threatened to beat Mr. Stoll so he got in his car and          left. Mr. Stoll immediately returned to
the office, and wrote a letter to the Krings apologizing for the disturbance and also wrote a letter

to Ms. Davidson, terminating her employment.

            For the balance of the day, Mr. Stoll worked in close proximity with Rae Wireman and

the remainder of the office staff. None of them smelled any alcohol on             Mr. Stoll's person.

      II.      ANTICIPATED LEGAL ISSUES AT TRIAL

                   A. WHETHER KENNETH STOLL'S ACTIONS AS ALLEGED BY                                          MS.
                      DAVIDSON CONSTITUES STALKING.


            In Michigan, stalking is "a willful course of conduct involving repeated or continuing

harassment      of another individual" whereby the victim of repeated or continuous harassment                    -

actually is, and a reasonable person would be, caused to feel terrorized, frightened, intimidated,

threatened, harassed, or molested. (emphasis added)6             Specifically, "course of conduct' "means

a pattern    of conduct composed of a series of 2 or more separate noncontinuous acts evidencing                  a

continuity of purpose."T In turn, "harassment" is defined as: "conduct directed toward a victim

that includes, but is not limited to, repeated or continuing unconsented contact that would cause a

reasonable individual to suffer emotional distress and that actually causes the victim to suffer

emotional distress."s (underscore added) "Harassment does not include constitutionally protected




u
 MCL 750.411h(1Xd); Nastal v. Henderson & Assocs. Investigations, \nc.,471 Mich j12, 691 N.W.2d I (Mich
2005); see also MCL 600.2954 (providing that a plaintiff "may maintain a civil action against an individual who
engages in conduct that is prohibited under section 41 t h or 41 I i of the Michigan penal code").

tvcL zso.+ui(a).

8   MCL 750.411h(c)
    Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3762 Page 9 of 17



activity or conduct that serves a legitimate purpose."e The petitioner has the burden to prove the

conduct has no legitimate purpose.t0 An employer contacting an employee about employment

matters serves a legitimate putpose.

           Assuming that Ms. Davidson's testimony to date regarding Mr. Stoll's alleged stalking

behavior is true (which is not the case), Mr. Stoll is entitled to judgment on this issue as a matter

of law. Specifically, Ms. Davidson has alleged, but is unable to car:ry her burden of proof, that

there was more than one incident of unconsented contact by Mr. Stoll after she had allegedly

indicated that she did not want any more assignments on 27 June 2013.11 Even the August 5tl'

incident had a legitimate purpose,            in Mr. Stoll attempting to remind Ms. Davidson of her
contractual responsibility and consequences for entering into a private pay relationship. In any

event, once Ms. Davidson has been              fully heard on this issue, Mr. Stoll anticipates moving to

dismiss Ms. Davidson's stalking complaint under Rule 50.



                     B. WHETHER MS. DAVIDSON CAN SUSTAIN HER BURDEN     OF PROOF
                         FOR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS.




e
    Id.

10   Footnote 8, Nastal, supra.

11   Again, Ms. Davidson swore in her PPO petition that "he came to my house (on June 10tl'; because I never returned
hiscallsortexts." Unconsentedcontactcannotbefoundinthecontextofanemployer-employeerelationshipifthe
employee never communicates with the employer that they quit or do not want further contact. Ms. Davidson's
phone records indicate that she had a four-minute phone conversation with Mr. Stoll on the l0'h. She initiated the
call. Assuming her version of events that she informed Mr. Stoll she had quit, the next contact with Mr. Stoll
occurred on August 5th , the date of the alleged assault. Under these facts, assuming everything Ms. Davidson says
is true, it does not constitute stalking as a matter of law. (There was also an incidental encounter at the Greenville
Walmart between the parties at an unspecified date that also does not constitute stalking.)


                                                           9
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3763 Page 10 of 17



            In Count III of her complaint, Ms. Davidson alleges that Mr. Stoll's conduct in stalking

her also constitutes an intentional infliction of emotional distress.12 Ms. Davidson asserts no

facts beyond Mr. Stoll's alleged stalking or one instance                      of alleged battery to        support this

allegation. In essence, it's a mere restatement of plaintiffs civil stalking and assault complaint.

This allegation       will     also be subject to Mr. Stoll's summary judgment motion under Rule 50.

           To sustain a cause of action for intentional infliction of emotional distress, "[]iability has

been found only where the conduct has been so outrageous                          in character, and so extreme in
degree, as to go beyond all possible bounds                 of decency, and to be regarded as atrocious, and
utterly intolerable in a civilized community."t' "It is initially for the trial judge to decide whether

defendant's conduct might reasonably be regarded as so extreme and outrageous                                   to allow
recovery for intentional infliction of emotional distress."la

           At the conclusion of plaintiff s proofs, the Courl will have little difficulty finding that

Ms. Davidson's has failed to meet her burden of proof regarding Mr. Stoll's alleged stalking.

Since the intentional          infliction of emotional distress is premised upon a hnding of stalkingls, this

count of plaintiff s complaint must also fail.

           Moreover, since plaintiff has not claimed that she has suffered any additional damages




12 See Complaint,     llll   38-41. It is unclear if she also claims that the alleged battery also contributes to this
finding.

13   Sawabini a. Desenberg,143      Mich App 373,383;372 NW2d 560 (1985).

1a   Id, at383.

15   There no authority to suggest that one alleged batter or assault and battery may also constitute an intentional
infliction of emotional distress.


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Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3764 Page 11 of 17



from intentional infliction of emotional distress, beyond the alleged damages for battery and

stalking, the claim is unsustainable as a matter of   law. Where two torts overlap a plaintiff    may

bring an action in both tofts as long as damages are not duplicated.l6



                 C. RELEVANCE AND ADMISSIBILITY
                                              OF THE COMFORCARE
                     EMPLOYEE HANDBOOK AND HANDBOOK ACKOWLEGMENT
                     FORM

        The acknowledgement form Ms. Davidson signed and dated              26 Aprrl   2013,   will   be

offered as an exhibit. The form contains the following unambiguous language immediately

above Ms. Davidson's signature.




        "Furthermore, I understand that I am not permitted to make any private employment
        alrangements with ComForcare's clients or their families. I understand that any such
        anangement is grounds for immediate termination and may result in my being liable to

        ComForcare for any damages and/or costs ComForcare suffers as a result of such an
        affangement. These costs may be in excess of $5,000.00.


The Employee Handbook, provided in pedinent part as follows:


        "Any employee who makes     a   private arrangement with a client will cause
        ComForcare to incur substantial economic damages and losses of types and in
        amounts which are difficult to compute and ascertain. Accordingly. in addition to
        any other relief to which ComForcare may be entitled (equitable, monetary and



'"Sawabini,supra, l43MichAppatpp383,384,citing Kollenbergv.Ramirez, l27Mich.App345,
353, 339 N.W.2d 176 (t 983).




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Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3765 Page 12 of 17



         otherwise), ComForcare shall be entitled to liquidated damages the greater of either:

         a) ten times (10x's) the largest bi-weekly service charge/bill charged            for such
         services in the past for client who is involved in such an agreement, or             b) 15,000.00, plus
         all related attorney/court costs ComForcare incurs in enforcing the Client Service
        Agreement. Such liquidated damages are intended to represent a reasonable
         approximation of actual ComForcare damages and is not a penalty. Employee will be
        required to pay this amount upon ComForcare's demand."


        Defendants' theory        of their   case   in part is that Ms. Davidson, despite her adamant
denials, received a copy of the Comforcare Employee 39-page Comforcare Employee Handbook

at the 26   Apfil2013 orientation, along with six other newly hired home-care workers.li That the

two month period that she engaged in a private-pay relationship and before, she was keenly

aware of its contents and the potential consequences of her actions.

        That the Court subsequently ruled that the above provision in the employee handbook

cannot form the basis of a contract does not negate that at the time, Ms. Davidson believed that

the provision was enforceable. That she subsequently claimed during her answer, interrogatories

and deposition not to have been given a copy of the handbook, despite overwhelming evidence to

the contrary, was her attempt to escape the monetary penalty she thoughl would be imposed upon

caretakers who enter into private pay relationships.

        The defendants fuither allege that Ms. Davidson's decision to falsely claim that Mr. Stoll

had assaulted her was also motivated in parl by her desire to escape the above-stated minimum




17 The six
            other newly hired Comforcare employees, most of whom no longer work for the company, are expected to
testifu that each received a copy of the handbook and a few still have kept theirs from the orientation. Ms. Manners
and others also recall that Ms. Davidson received a copy of the handbook.



                                                        72
 Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3766 Page 13 of 17



 $15,000 penalty. When        Mr. Stoll discovered she had entered into a private-pay relationship,

 there is compelling evidence that in her mind, she was responsible for a minimum
                                                                                  $15,000 in

 damages.

           While the Employee Handbook is not admissible as the basis of an enforceable contract,

it is relevant and admissible to show Ms. Davidson's motivation for falsely accusing Mr. Stoll of

battery and also speaks to her lack of credibility on a material issue. Ms. Davidson's decision to

violate the terms of the above agreements in favor of entering into a private pay relationship with

the Krings, Comforcare's clients, also explains why she was avoiding Mr. Stoll and the

Comforcare scheduler's attempts to contact her. It undermines the plaintiff s assertions that she

made no attempt to contact Mr. Stoll prior to June 10th because she was afraid of        him. It also
explains the purpose of Mr. Stoll's unannounced visit to the Kring house on 5 August 2013         *   the

date Ms. Davidson claims she was assaulted.


          "Relevant evidence" means evidence having any tendency to make the existence
                                                                                       of any

                                                    oftheactionmoreprobableor1essprobablethan

it   would be without the eviden"e.'u 1E*phasis added) The rule is broad and encourages the

admission      of as much useful     information as possible     in   making judicial determinations.

         Relevance is not the same as sufficiency. The fact that an item of evidence is not sufficient.

or in other words does not necessarily prove what one is trying to prove, does not mean that the




18   FRE 401



                                                   13
 Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3767 Page 14 of 17



 evidence         is irrelevant.le Subject to        certain narrow exceptions,         all   relevant evidence is

 admissible.2o

            The danger of confusion of the issues under FRE 403 is addressed by the jury instruction

that would allow this evidence for the limited purpose of determining Ms. Davidson's motive for

her false claim of battery and stalking.2r              It also relevant to explain Mr. Stoll's actions and to
corroborate defendants' claim that Ms. Davidson made no attempt                           to contact Mr. Stoll        or

Comforcare during the three week period she claimed she was being stalked. Again, evidence

that the plaintiff entered into a private pay relationship with Comforcare's clients explains why

she was avoiding           Mr. Stoll and Rae Wireman's attempts to contact her, not because she was

afraid of Mr. Stoll as she has testified.

            The proffered evidence also is relevant to determining Ms. Davidson's credibility on a

material fact.        It is always permissible upon cross-examination of an adverse witness to pursue

facts bearing on their bias and           credibility." A *it.ress's credibility is a primary question for the




19
   The Michigan Supreme Court has specifically distinguished relevance from sufficiency. In quantitative terms, the
fact that a piece of evidence has some tendency to make the existence of a fact more probable, or less probable, does
not necessarily mean that the evidence would justifu a reasonable juror in reasonably concluding the existence of
that fact beyond a reasonable doubt. See Wade and Strom, Michigan Courtroom Evidence, ICLE 1989, p. jl 3.
People t). Hatnpton,407 Mich. 354,368 (19j9)

,(r   FRE 402,


2i M Civ JI     3.07 - Evidence Introduced for a Limited purpose
           If I admitted evidence for a limited purpose, you must not consider that evidence for any other purpose.

'2 Altemose      Construction Company v. NLRB, 514 F.2d g, l3 (3.d Cir. 1975).


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Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3768 Page 15 of 17



jury to evaluate, and questions eliciting bias, prejudice, or interest are appropriately allowed

within the trial courl's discretion.23

                   D. THE ADMISSIBILITY OF EMMY MANNERS TESTIMONY THAT SHE
                      SAW A BOTTLE OF VODKA IN MR. STOLL'S DESK DRAWER
                       DURING THE ORIENTATION FOR NEW EMPLOYEES _ MORE THAN
                       90 DAYS BEFORE THE PARTIES ENCOUNTER AT THE KRING'S
                       RESIDENCE.

           At trial, Emmy Manners testified for the defendants.'o On26 April2073, Ms. Manners,

along with Plaintiff and six other newly hired employees, underwent orientation to leam about

Comforcare's policies. The group watched a video and each received a copy of the Comforcare

Employee Handbook. Ms. Manners testified she knew it was wrong for a careworker to enter

into private pay relationships with clients.2s

           After Ms. Manners was excused as a witness, she was approached by the plaintiffs

fianc6, Brian Jones, in the hallway. On a separate record, Ms. Manners also says that following

her testimony she encountered Ms. Davidson in the bathroom. After a lengthy discussion about

whether Judge Kent's sequestration order was violated, the Court allowed Mr. Boncher to recall

her as a witness in the middle of Mr. Stoll's testimonv.

           After being recalled as a witness by plaintiff, Ms. Manners testified that she had never

seen     Mr. Stoll drink alcohol or smell of alcohol. but did   see what she described as a bottle   of

vodka in his desk office drawer durins orientation.




tt Stadium Authv Drinlcwater,26T Mich.App.625,653; 705 N.W.2d 549 (2005).

2a
     Transcript, ECF Document No.: #18.

25   Id, p.5.


                                                   15
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3769 Page 16 of 17



            At that point, the evidence was arguably relevant to refute Mr. Stoll's assertion that he

 does not drink beverage        alcohol. Dawn Stoll also had earlier testified that her husband does not

 drink.

            At re-trial, defendants will confine their proofs to whether there is any indication that Mr.

Stoll had consumed alcohol on the date of the alleged assault, 5 August 2013. That Ms. Manners

claimed she saw Mr. Stoll in constructive possession of a bottle of vodka on26 April 2013, more

than three months before the alleged incident at the Kring home, is too remote in time to prove or

disprove that Mr. Stoll was drinking on 5 August. Ms. Manner's testimony about seeing the

bottle of vodka should therefore be excluded under FRE 401 and 402. Moreover, any probative

value would be greatly outweighed by the risk of unfair prejudice under FRE 403.26

           The remaining issues in this trial are factual determinations within the province of the

jury.     The   jury will weigh and consider Ms. Davidson's allegations, including whether Mr. Stoll

battered her as alleged, the reason Ms. Davidson underwent elective surgery for a pinched nerve

in her neck, the one year delay in her alleged onset of symptoms and corresponding delay in

bringing this lawsuit. These are factual determinations within the province of the iurv.


Dated: 27 June 2011                                    /s/ Thomas A. Ginster

                                                      Thomas A. Ginster (P-40243)
                                                      Attorney for Defendants
                                                      203 S. Lafayette St., PO Box 106
                                                      Greenville, MI48838
                                                      (616) 7s4-s303
                                                      e-mail : ginster@lawyer.com




2o   The evidence should also be excluded under FRE 404 as impermissible character evidence.


                                                         76
Case 1:14-cv-00779-PJG ECF No. 192 filed 06/27/17 PageID.3770 Page 17 of 17
